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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-955V
                                       Filed: June 9, 2017

 * * * * * * * * * * * * *                     *   *
 DONALD JACKSON,                                   *       UNPUBLISHED
                                                   *
                 Petitioner,                       *
 v.                                                *       Decision on Joint Stipulation;
                                                   *       Guillain-Barre Syndrome (“GBS”);
 SECRETARY OF HEALTH                               *       Influenza (“Flu”) Vaccine.
 AND HUMAN SERVICES,                               *
                                                   *
          Respondent.                              *
 * * * * * * * * * * * * *                     *   *

Jeffrey S. Pop, Esq., Jeffrey S. Pop, Attorney at Law, Beverly Hills, CA, for petitioner.
Ryan D. Pyles, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION1

Roth, Special Master:

        On August 5, 2016, Donald Jackson (“Mr. Jackson,” or “petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program.2 Petitioner alleged
that he developed Guillain-Barre Syndrome (“GBS”) as a result of receiving an Influenza (“flu”)
vaccination on September 17, 2013. See Petition (“Pet.”). Respondent denies that the vaccine is
the cause of petitioner’s alleged GBS and/or any other injury. See Stipulation at ¶ 6.




        1
          Because this unpublished decision contains a reasoned explanation for the action in this case, I
intend to post this decision on the United States Court of Federal Claims’ website, in accordance with the
E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that
provision, I will delete such material from public access.
        2
         National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).



                                                       1
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         Nevertheless, the parties have agreed to settle the case. On June 8, 2017, the parties filed
a joint stipulation agreeing to settle this case and describing the settlement terms. Respondent
agrees to issue the following payment:

             1. A lump sum of $99.07, which amount represents reimbursement of a State
                of Kentucky Medicaid lien, in the form of a check payable jointly to
                petitioner and

                                   Department of Medicaid Services
                                    c/o Hewlett Packard Enterprise
                                         656 Chamberlin Lane
                                         Frankfort, KY 40601.

                Petitioner agrees to endorse this payment to the State; and

             2. A lump sum of $100,000.00, in the form of a check payable to petitioner.
                This amount represents compensation for all damages that would be
                available under § 300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The clerk of the court is directed to enter judgment in
accordance with this Decision.3

        IT IS SO ORDERED.

                                                        s/ Mindy Michaels Roth
                                                        Mindy Michaels Roth
                                                        Special Master




        3
         Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.

                                                   2
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